UNITED STATES OF AMERICA,

v.

 

PAULA KAY BULLOCK,
Defendant,

and

CHARLES SCHWAB AND CO., INC.,
and its successors or assigns,

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Garnishee.
WRIT OF CONTINUING GARNISHMENT
GREETINGS TO: Charles Schwab and Co.., Inc.
c/o Registered Agent, CT Corporation System
160 Mine Lake Court, Suite 200
Raleigh, NC 27615-6417
The Court has issued this writ upon application by the United States for a Writ of
Continuing Garnishment against the property of Paula Kay Bullock, Defendant. 28 U.S.C. §
3205(c). The writ is premised upon a judgment entered in this case against the above-named
Defendant. The judgment is in the amount of $25,847.63.
As of July 18, 2019, the sum of $7,000.00 has been credited to the judgment debt,
leaving a total balance of $25,847.63, which includes restitution in the amount of $5,647.63, a

fine in the amount of $20,000.00, and a special assessment in the amount of $200.00. Interest

is not accruing on this debt.

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You are required by law to answer within ten (10) days in writing, under penalty of

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perjury, whether or not you have in your'custody, control, or possession, any property of
the Defendant debtor.

You are further required to withhold and retain, pending further order of the
Court, any property in which the Defendant debtor has a substantial nonexempt interest
which is subject to garnishment by the United States, including but not limited to:

Any and all accounts individually owned by or held for the benefit of

Paula Kay Bullock, Social Security Number ***-**-9885 and the pro-

rata share of any and all accounts owned or held jointly by Paula Kay

Bullock, and any other individual and/or entity, including but not

limited to Individual Retirement Accounts and/or securities accounts,

account numbers unknown, not to exceed the balance of this debt,
$25,847.63.

In filing your Answer, you are hereby ordered to use the enclosed form entitled
“Answer of the Garnishee” and you must answer all questions.

Within ten (10) days of your receipt of this writ, you must file the original written
Answer of the Garnishee with the Clerk of the United States District Court at 324 W. Market
St., Greensboro, North Carolina 27401. Additionally, you are required by law to serve a copy
of the Answer of the Garnishee upon the debtor, Paula Kay Bullock, Register No.: 34142-057,
at FCI Coleman, P.O. Box 1021, Coleman, FL 33521-1029, and upon Joan B. Childs, Assistant
United States Attorney, 101 S. Edgeworth Street, 4th Floor, Greensboro, North Carolina 27401,
Attention: Financial Litigation Unit.

Under the law, some kinds of property are exempt from the Writ of Continuing

Garnishment. Such exempt property which is not subject to the writ is listed on the enclosed

“Claim for Exemption” form.

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If you fail to Answer the writ or fail to withhold property or earnings in accordance with

the writ, the United States of America may petition the court for an order requiring you to appear

before the court. If you fail to appear or do appear but fail to show good cause why you failed to

comply with the writ, the court may order a judgment against you for the value of the debtor’s

nonexempt property or earnings. The court
United States and against you if you do not ar
requiring you to appear is filed.

It is unlawful to pay or deliver to

may also award a reasonable attorney’s fee to the

iswer the writ within the time specified and a petition

the Defendant debtor any property garnished by

 

this writ. ZZ
AL.

Clerk, United States District’ Distrie’Court
DEC 29 2019

Date &

 

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